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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,                                          Criminal No. 10-304 PJS/AJB

                              Plaintiff,

v.                                                     REPORT AND RECOMMENDATION

(1)    Martin Basurto-Esquivel,
(2)    Martin Basurto, Jr.,
(4)    Patricio Cardoso-Sanchez,

                              Defendants.


               Thomas M. Hollenhorst, Esq., and Allan Slaughter, Esq., Assistant United States
                     Attorneys, for the plaintiff, United States of America;
               Mark D. Larsen, Esq., for defendant Martin Basurto-Esquivel;
               Douglas Olsen, Esq., for defendant Martin Basurto, Jr.; and
               James B. Sheehy, Esq., for defendant Patricio Cardoso-Sanchez.


               This action came on for hearing before the Court, Chief Magistrate Judge Arthur

J. Boylan, on January 3, 2010, at the U.S. Courthouse, 316 North Robert Street, St. Paul,

Minnesota 55101. The Court issued an Order on Motions, filed January 10, 2011, therein

reserving defendants’ motions to suppress wiretap evidence, motions to suppress search and

seizure evidence, and motion to suppress statements, as well as motions for severance, for

submission to the district court on report and recommendation.

               Based upon the file and documents contained therein, along with the

memorandums and arguments of counsel, the magistrate judge makes the following:

FINDINGS

               Wiretap Applications, Authorizations, and Procedures. On July 26, 2010, an

Assistant United States Attorney for the District of Minnesota submitted an application for an
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order authorizing the interception of wire communications to United States District Court Judge

Patrick J. Schiltz. The wiretap authorization was sought pursuant to 18 U.S.C. § 2518 and was

requested as part of an FBI investigation into suspected drug distribution activities by

specifically named individuals, including defendants in this action. Defendants and others were

believed to be involved in various capacities in the importation and distribution of drugs, largely

in the Twin Cities area. The wiretap application and order each recite the suspected statutory

violations relating to the investigation. In addition, the application contains a description of the

application procedures which have been followed pursuant to the requirements of 18 U.S.C. §

2516 and seeks permission to conduct telephone surveillance consistent with provisions of 18

U.S.C. §2518. The application further identifies the individual targets of the proposed

surveillance and generally asserts the existence of probable cause as stated with particularity in

an attached affidavit of DEA Special Agent Terrence W. Olstad.

               The July 26, 2010, application (Hrg. Ex. 3) requested authorization to intercept

calls to and from cellular telephone number 651-387-5055 (TT-3), a Sprint cell phone bearing

electronic serial number 270113178315098400, a telephone number assigned to Martin Basurto,

at a specified address in White Bear Lake, Minnesota. Authorization was granted by Judge

Schiltz on July 26, 2010, and the Court’s Order permitted interceptions for a period of 30 days

commencing within 10 days or on the date interceptions begin, whichever is sooner. The Order

further provided that wiretaps be conducted in a manner that minimized the interception of

communications that are not criminal or not pertinent to the investigation, and that interim

progress reports regarding intercepted calls be submitted to the Court on ten day intervals.

Interceptions pursuant to the Order commenced on July 27, 2010, and surveillance was


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terminated on August 25, 2010, at which time wiretap authorization under the initial Order

lapsed.

               Thereafter, the Assistant United States Attorney for the District of Minnesota

submitted an application for renewal of interception of wire communications to United States

District Court Chief Judge Michael J. Davis on August 31, 2010. (Hrg Ex. 4). The wiretap

renewal order was requested on the basis of the same statutory authority and as part of the same

investigation as the prior July 26, 2010, Order, and the application again asserts the existence of

probable cause as stated with particularity in an attached affidavit of DEA Special Agent

Terrence W. Olstad. The affidavit references and incorporates the prior affidavit that was

submitted to Judge Schiltz and further describes probable cause evidence, including intercepted

conversations that were obtained pursuant to the initial wiretap order. The renewal application

identifies the same individuals as targets of the proposed renewed surveillance, though several

target individuals are added.

               The August 31, 2010, renewal application again requested authorization to

intercept calls to and from cellular telephone number 651-387-5055, a Sprint cell phone bearing

electronic serial number 270113178315098400 (TT-3), a telephone number assigned to Martin

Basurto, at a specified address in White Bear Lake, Minnesota. Authorization was granted by

Chief Judge Davis on August 31, 2010, and the Court’s Order permitted interceptions for a

period of 30 days commencing within 10 days or on the date interceptions begin, whichever is

sooner. The Order further provided that be wiretaps be conducted in a manner that minimized

the interception of communications not pertinent to the investigation and that interim progress

reports containing descriptions and summaries of intercepted calls be submitted to the Court on


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fifteen day intervals. Interceptions pursuant to the Order commenced on September 2, 2010, and

surveillance was terminated on September 30, 2010, at which time wiretap authorization under

the initial Order was allowed to lapse. The Order authorizing a wiretap on TT-3 was not

extended beyond September 30, 2010.

               Both of the above-described intercept applications were separately authorized by

a specifically designated Deputy Assistant Attorney General in the Criminal Division of the

United States Department of Justice. The interception applications requested wiretap permission

only until attainment of the authorized objectives and in no event more than thirty days beyond

the time of commencement. The target phone was not monitored in excess of the thirty day time

limitation as prescribed by the respective Order Authorizing the Interception of Wire

Communications and the renewal order. The applications described attainment objectives as the

interception of communications which fully reveal the manner in which the target individuals

and others unknown participate in the described offenses, and reveal the identities of co-

conspirators, places of operation, and the nature of the conspiracy.

               Minimization. Prior to commencing telephone interceptions in this investigation

the monitoring agents were given instructions regarding rules and standards of minimization.

Minimization procedures are intended to prevent monitoring of privileged communications and

unnecessary monitoring of innocent conversations by requiring monitors to determine the

discussion’s relevance to the investigation within the first two minutes of the call. A

minimization memorandum was prepared by the Assistant United States Attorney and each of

the monitors was required to read the minimization memorandum and to sign an

acknowledgment that the minimization memo was read.


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               Alternative Investigative Techniques. Both of the affidavits of DEA Special

Agent Terrence Olstad that were submitted in support of wiretap applications described various

conventional investigative techniques which were used in the investigation prior to submitting

the application for wiretap authorization. Investigation methods, information sources, and

incidents that were exploited and/or considered by the affiant and other investigators included

physical surveillance, search warrants, pen registers and toll records, mail covers, confidential

sources, undercover investigators, grand jury subpoenas, trash searches, cell phone

latitude/longitude data, and GPS tracking. In addition, the August 31, 2010, surveillance

renewal affidavit cited subsequent investigative efforts, including the prior Title III wiretap in

this case. The conventional techniques had not proven to be entirely successful with regard to

identifying all participants and locations used by the suspected drug distribution organization. In

particular, certain intercepted participants were not fully identified and drug stash locations were

not determined; California-based methamphetamine suppliers and Minnesota customers were not

identified; and the exact manner and means in which drugs were transported was not established.

Substantial physical surveillance was successfully conducted, but did not allow the immediate

physical presence necessary to discover details regarding identities, locations and the subjects of

meetings, and was hampered by counter-surveillance measures. Search warrants were unlikely

to reveal substantial evidence regarding interstate drug sources and couriers and premature

execution carried the risk of jeopardizing the entire investigation. Pen registers and toll records

had proven very useful in establishing communications patterns, but did not reveal the substance

of conversations. Use of informants and an undercover agent had yielded useful information, but

a principal CS was now incarcerated and a second informant, as well as the undercover agent,


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had only limited, low-level access to members of the suspected drug organization.

Latitude/longitude data had proven to be helpful in tracking movements of the possessor of the

target telephone, and to facilitate physical surveillance, but was not sufficient as a means for

determining the purposes of such movements and attaining the goals of the investigation, and it

did not appear likely that GPS tracking would be any more productive than the latitude/longitude

tracking. Finally, the results of the electronic surveillance that was conducted pursuant to the

first wiretap authorization order had revealed valuable evidence, including the identities of

additional participants in the suspected crime organization and the locations of stash houses and

meeting places, but the surveillance had not yet fully revealed identities all of the participants

and locations or the means of drug transportation.

2007 Wiretap Authorization

               On April 20, 2007, United States District Court Judge Michael J. Davis issued an

Order Authorizing Interception of Wire Communications upon application by an Assistant

United States Attorney for the District of Minnesota. (Hrg. Ex. 8 and 9). The wiretap

authorization was sought pursuant to 18 U.S.C. § 2518 and was requested as part of a DEA

investigation into suspected drug distribution activities by specifically named individuals,

including defendants in this matter. Surveillance pursuant to the authorization commenced April

20, 2007, and was terminated on May 12, 2007.

               No prosecutions of defendants in this case were initiated as a direct result of

evidence obtained in the course of the 2007 electronic surveillance. However, the Affidavit of

Terrence Olstad that was submitted in support of the initial wiretap authorization request in this

matter noted the occurrence of the 2007 electronic surveillance, and stated that the interceptions


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were halted because the target individual had given the target cell phone to an unknown juvenile.

It was decided that charges would not be brought because the incriminating evidence that was

obtained related only to lower level members of the suspected drug organization, and officials

did not want to risk interference with future investigations of higher members of the

organization. The Affidavits of Terrence Olstad accompanying the 2010 electronic surveillance

applications do not explicitly reference any evidence or information obtained as a result of the

2007 wiretap.

Search Warrants

                Separate search warrants were issued on October 15, 2010, by United States

Magistrate Judge Jeffrey H. Keyes, authorizing the searches of three locations. The three

warrants were all based upon the identical applications and affidavits submitted by DEA Special

Agent Terrence W. Olstad. One of the warrants authorized the search of a two-car detached

garage located on a lot at a particularly stated address in White Bear Lake, Minnesota, further

identified in the affidavit as property owned by Martin Basurto (Hrg. Ex. 5); a second warrant

authorized the search of a particular premises in White Bear Lake, Minnesota, further identified

in the affidavit as the residence of Esquivel (Hrg. Ex. 6); and the third warrant authorized the

search of a specified apartment unit in West Saint Paul, Minnesota, further identified in the

affidavit as the residence of Martin Basurto (Hrg. Ex. 7).

                Each application and the respective warrant contained the same description of

items to be seized, including methamphetamine and other controlled substances, books and

records relating to drug distribution, addresses and telephone numbers, financial documents

relating to concealment of assets, electronic equipment and devices, money and valuables,


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photographs, drug packaging materials, documents indicating occupancy, firearms, and locked

containers. The affidavits of Special Agent Olstad stated evidence and information intended to

establish probable cause for issuance of each of the warrants, including information provided by

a confidential source (CS), evidence obtained through controlled drug buys, evidence obtained

by traditional surveillance, information obtained through use of an undercover officer (UC),

evidence obtained by execution of search warrants authorizing disclosure of cell phone

latitude/longitude data, and evidence obtained by electronic surveillance.

Statement

               Martin Busarto, Jr. DEA Special Agent Olstad executed a warrant to arrest

defendant Martin Busarto, Jr. at an apartment in Eagan, Minnesota, on October 21, 2010, at

approximately 10:30 a.m. Mr. Busarto answered the door and Special Agent Olstad promptly

arrested him. The agent read the Miranda advisory to the defendant in English from a preprinted

card as they sat at a kitchen table. Busarto stated that he understood his rights as given to him,

including the right to remain silent and the right to a court-appointed attorney before

questioning. He agreed to speak with the agent, but stated that he wanted any discussions to take

place away from his girlfriend, who was also at the residence. Special Agent Olstad then

brought Mr. Busarto to a vehicle where a custodial interview was conducted. Officer Melton

was also present in the vehicle. The defendant voluntarily made statements to the officers. He

was not subjected to coercion or promises made to induce cooperation, and he was not under the

influence of drugs or alcohol. The interview lasted approximately five minutes and was

terminated by Special Agent Olstad. The defendant made no request for the assistance of an

attorney and did not ask that the interview cease. The interview was not recorded.


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               Based upon the foregoing Findings, the magistrate judge makes the following:

                                        CONCLUSIONS

Severance

               Severance. Severance of defendants is not required in this matter. Each of the

defendants has moved for severance of defendants in this matter and defendants Martin Basurto-

Esquivel and Martin Basurto, Jr. have also moved specifically for severance of Count 12 of the

indictment, alleging a firearms possession charge against Basurto-Esquivel only. Fed. R. Crim.

P. 8(a) permits joinder of offenses in the same indictment if the offenses are of the same or

similar character or are based on the same act or transaction or are based on acts connected

together or constituting parts of a common scheme or plan. The propriety of joinder under Rule

8(a) is a question of law, though relief from a legally permissible joinder may be obtained as an

exercise of discretion on motion for severance due to prejudice, pursuant to Fed. R. Crim. P. 14.

United States v. Rodgers, 732 F.2d 625, 628-29 (8th Cir. 1984). Availability of the Rule 14

remedy permits broad construction of Rule 8 in favor of initial joinder. Id. at 629. With respect

to joinder of defendants in this instance, it has not been shown that severance of co-defendants is

necessary to avoid risk of compromising any specific trial right to which each of them is entitled

or is necessary to prevent the jury from making an unreliable judgment as to the guilt or

innocence of each of them.

               The individual co-defendants in this matter have been indicted for conspiring with

one another to distribute methamphetamine. Two or more defendants may be charged in the

same indictment if they are alleged to have participated in the same transaction or series of

incidents constituting an offense or offenses. Fed. R. Crim. P. 8(b). “There is a preference in the


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federal system for joint trials of defendants who are indicted together.” Zafiro v. United States,

506 U.S. 534, 537, 113 S.Ct. 933, 937 (1993). Typically, persons charged with conspiracy

should be tried together and it will rarely be improper for co-conspirators to be tried together.

United States v. Kindle, 925 F.2d 272, 277 (8th Cir. 1991); United States v. Stephenson, 924

F.2d 753, 761 (8th Cir. 1991). Nonetheless, the court may grant a severance of defendants if it

appears that a defendant is prejudiced by a joinder at trial. Fed. R. Crim. P. 14. A court “should

grant a severance under Rule 14 only if there is a serious risk that a joint trial would compromise

a specific trial right of one of the defendants, or prevent the jury from making a reliable

judgment about guilt or innocence.” Zafiro, 506 U.S. at 539, 113 S.Ct. at 938.

               Each of the moving defendants generally asserts prejudice resulting from the

introduction of evidence against one of them that would be inadmissible against the other in a

separate trial. Each defendant also asserts improper joinder and difficulty for the jury in

distinguishing between the alleged acts of the defendants. No defendant describes grounds for

severance with significant factual particularity.

               The counts and defendants in this case were properly joined under Rule 8 and

there is no requirement for severance based upon misjoinder. Rule 14 severance is a remedy for

prejudice that may develop during trial, and the decision on a Rule 14 motion for severance lies

within the sound discretion of the trial court. United States v. Robaina, 39 F.3d 858, 861 (8th

Cir. 1994). The record, including testimony produced at hearing, offers no compelling

indication as to how any defendant is prejudiced by joinder with other the defendants in this

case, particularly to the extent necessary to overcome the preference for joinder of defendants in

conspiracy cases. Specifically, it is not patently apparent that a jury would be unable to


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distinguish and apply the evidence relating to one defendant from evidence relating to another

defendant, and there has not been persuasive particularized showing that a joined trial will

prevent introduction of exculpatory evidence or will allow introduction of otherwise

inadmissible evidence with respect to any defendant. Joinder of defendants in this case was not

improper and severance is not required in light of the current record. See United States v.

Wadena, 152 F.3d 831, 847-50 (8th Cir. 1998). Similarly, with respect to the Count 12 charge

against Martin Basurto-Esquivel alleging unlawful possession of a firearm by an illegal alien, the

courts find no immediate issue regarding introduction of evidence based upon his presently

speculative decision to testify one way or another on the separate drug and firearms charges.

The court further concludes that with the assistance of instructions from the trial court the jury

will be fully able to distinguish the acts of each defendant from the acts of other defendants so as

to avoid prejudice to other defendants based upon the firearm count against Mr. Basurto-

Esquivel, and the jury will further be able to set aside personal concerns about connections

between illegal aliens, drugs, and firearms. Severance is a remedy that can be provided at the

time of trial if appropriate under the circumstances. At present, there has been no showing to

support a recommendation for severance of defendants or counts.

Search Warrants

               Evidence seized pursuant to separate warrants to search a two-car detached

garage located on a lot at a particularly stated address in White Bear Lake, Minnesota, further

identified in the affidavit as property owned by Martin Basurto. (Hrg. Ex. 5); a particular

premises in White Bear Lake, Minnesota, further identified in the affidavit as the residence of

Esquivel (Hrg. Ex. 6); and a specified apartment unit in West Saint Paul, Minnesota, further


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identified in the affidavit as the residence of Martin Basurto, was not unlawfully obtained in

violation of the constitutional rights of a defendant in this action. The three search warrants

were issued on October 15, 2010, and were based upon sufficient probable cause as determined

by United States Magistrate Judge Jeffrey H. Keyes. Each of the applications was accompanied

by the affidavit of DEA Special Agent Terrence Olstad, and each of the affidavits contains

sufficient probable cause to support issuance of the respective warrant to search the specified

location.

               Defendant Martin Basurto-Esquivel argues that there was not sufficient evidence

to establish probable cause for issuance of the warrant to search a particular premises in White

Bear Lake (Hrg. Ex. 6) because the supporting affidavit did not state concrete evidence regarding

his involvement in drug distribution activities, but rather, the affiant relied on opinion and

speculation. Although many of the evidentiary statements in the Affidavit of Terrence Olstad

were qualified as being based upon “training and experience,” the court is persuaded that the

affiant’s interpretation of intercepted coded language in reference to monetary units and drug

types and amounts, was wholly justified in the context of the intercepted discussions and the

investigation in this case so as to establish probable cause to believe Basurto-Esquivel was

involved in a drug conspiracy. Moreover, intercepted calls involving cellular phones subscribed

to by persons who identified the subject address as their residence, indicated that drug money

was transferred at the residence, thereby establishing the necessary nexus between the search

warrant location and unlawful activity.

               Defendant Martin Basurto, Jr. likewise contends that the affidavit supporting the

warrant to search his West St. Paul apartment (Hrg. Ex. 7) did not establish a nexus between the


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residence and drug activity and relies too heavily on conclusory statements and opinion. This

argument fails. The affidavit references direct observations of Martin Basurto and co-defendant

Keener engaged in drug transactions and thereafter going into the apartment in November 2009.

More recently, on September 11, 2010, an conversation was intercepted which allowed the

reasonable inference that Martin Basurto was counting drug money at the residence, and on

October 6, 2010, Keener was observed going into the apartment building immediately after

discussing a substantial drug purchase with an undercover agent. The affidavit contains direct

and timely evidence to establish a nexus between drug activity and the West St. Paul location.

Suppression of evidence obtained pursuant to the above-identified warrants to search and seize

evidence is not required.

               Good Faith. The warrants issued by the United States Magistrate Judge on

October 15, 2010, were executed by officers having a objective good faith reliance on the

validity of each of the warrants, and the searches were lawful. There is no evidence that the

issuing judge was intentionally or recklessly misled by false information in an affidavit; there is

no suggestion that the judicial role was completely abandoned by the issuing judge; the indicia

of probable cause in the affidavit is not insignificant; and the warrant is not facially deficient.

United States v. Hessman, 369 F.3d 1016, 1020 (2004)(citing United States v. Leon, 468 U.S.

897, 923, 104 S.Ct. 3405 (1984). The search warrants in this matter were lawfully issued and

executed and there is no requirement for suppression of evidence seized pursuant to the warrant.

See also United States v. Carpenter, 341 F.3d 666, 671,670 (8th Cir. 2003)(affidavit not so

lacking in indicia of a nexus between drugs and residence as to render belief in existence of

probable cause entirely unreasonable).


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Statements

               Martin Busarto, Jr. Defendant Busarto’s interview statement on October 21,

2010, conducted in a vehicle outside his apartment residence in Eagan, Minnesota, in connection

with the execution of a warrant for Mr. Busarto’s arrest, was lawfully obtained. Defendant was

advised of his constitutional rights, and he acknowledged and voluntarily waived those rights,

including the right to remain silent, the right to confer with counsel and to have an attorney

present, the right to stop answering questions, and the right to appointed counsel. The rights

were provided to him in English, defendant was not subjected to threats, coercion, or promises

by agents present at the interview, and he did not ask that questioning cease. Suppression of

defendant Martin Busarto, Jr.’s statements is not required.

Wiretap Procedures

               Defendants have not made the required showing that the applications for

electronic surveillance in this case were substantively deficient, that the wiretap surveillance as

conducted in this instance did not satisfy the procedural requirements set forth at 18 U.S.C.

2518, that electronic surveillance was unnecessary in light of evidence already obtained and the

availability of other investigative techniques, or that the warrant was not supported by probable

cause. Evidence obtained either directly or derivatively through interception of wire or oral

communications should not be suppressed.

               An application to engage in electronic surveillance must be reviewed in a

practical and common sense fashion and broad discretion must be accorded to the decision to

authorize a wiretap. United States v. Garcia, 785 F.2d 214, 221 (8th Cir. 1986). The


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information in the supporting affidavit must present a truthful showing of probable cause, United

States v. Falls, 34 F.2d 674, 681 (8th Cir. 1994)(citing Franks v. Delaware, 438 U.S. 154, 164-

65, 98 S.Ct. 2674, 2680-81 (1978)). A defendant has the burden of showing that wiretapping

was unlawfully obtained or used. Garcia at 222. An application may be challenged through a

showing that facts included in the affidavit are false or were made with reckless disregard for the

truth, or that facts were omitted with intent to mislead or in reckless disregard to the whether the

affidavit is misleading. Falls at 681. Defendants have not shown that the wiretap applications

and affidavits in this matter contain any untruthful probable cause information or that material

was otherwise presented or omitted with the intent or the effect of misleading the issuing judge,

particularly with respect to the success or failure of alternative investigatory tools. Furthermore,

defendants offer no substantive argument whatsoever as to the sufficiency of probable cause

evidence to support issuance of the warrant.

               Necessity. In addition to providing a complete statement of facts and

circumstances relating to the alleged offenses, the persons involved, and the type of

communications sought to be intercepted, 18 U.S.C. § 2518(1)(b), a wiretap application must

contain information which will justify a determination that conventional investigative techniques

have been tried and have either failed or reasonably appear to be unlikely to succeed or are too

dangerous. 18 U.S.C. § 2518(1) (c) and (3) (c). United States v. Shaw, 94 F.3d 438, 441 (8th

Cir. 1995). This “necessity” requirement is imposed to ensure that wiretaps are not routinely

employed at the initial step in the investigation and does not dictate that all possible investigative

techniques be attempted before seeking wiretap authorization. Id. at 441 (citing United States v.

Macklin, 902 F.2d 1320, 1326 (8th Cir. 1990)).


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               The separate affidavits of DEA Special Agent Terrence Olstad, submitted in

support of wiretap applications, (Hrg. Ex. 3 and 4), each provide a thorough description of other

investigative methods that had already been used or considered. The affidavits discuss the use of

confidential sources and undercover agents, physical surveillance procedures, pen registers and

toll records, latitude/longitude and GPS tracking, search warrants, and trash searches, and the

renewal affidavit discusses the results of the prior wiretap as well. In addition, the affidavits

describe the successes and limitations of the various investigative techniques under the

circumstances of this case, including the difficulties in achieving an immediate physical

presence necessary to see or hear illegal activities actually taking place and to obtain detailed

information. The wiretap was clearly not the initial step in the investigation in this case and the

application and authorization are not in conflict with the “necessity” requirement. United States

v. Nguyen, 46 F.3d 781, 783 (8th Cir. 1995). The government met its statutory obligation with

respect to a statement of necessity and there is no showing that relevant affidavit statements were

misleading.

               Attainment. The interception application in this matter requested wiretap

authorization until communications interceptions “reveal the manner in which the named

violators and others unknown participate in the specified offenses and reveal the identities of

their co-conspirators, places of operation, and nature of the conspiracy,” (Appl. for Interception,

Hrg. Ex. 3, page 5; Ex. 4, page 5). Where the goals of an investigation are to learn the extent of

the conspiracy and the identity of co-conspirators, a wiretap may lawfully continue until the

government accomplishes those goals or the 30-day period of authorization expires. United

States v. Brown, 941 F.3d 656, 659 (8th Cir. 1991). While the government may have had


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substantial success in this investigation, it had not determined the identity or location of all co-

conspirators and did not continue surveillance beyond the time of attainment or beyond the

authorized 30 days. Suppression of wiretap evidence is not justified by the government’s failure

to cease electronic surveillance upon attainment of the investigation objectives.

               Minimization. 18 U.S.C. § 2518(5) requires the government to conduct

electronic surveillance in a manner that will minimize the interception of communications that

are not otherwise subject to interception. Whether minimization efforts were properly conducted

is a test of objective reasonableness under the facts and circumstances of the case. United States

v. Padilla-Pena, 129 F.3d 457, 462 (8th Cir. 1997)(citing Scott v. United States, 436 U.S. 128,

137-38, 98 S.Ct. 1717, 1723-24 (1978)). Occasional interception of nonpertinent

communications is not forbidden by 18 U.S.C. § 2518(5) and does not warrant suppression

unless particular circumstances of the case otherwise justify this severe sanction. Padilla-Pena

at 464. In a case involving a wide-ranging conspiracy with several participants, even an

experienced monitor might experience difficulties in determining the relevancy of uncompleted

calls. This is true whether calls are evaluated contemporaneously or after-the-fact. Padilla-Pena

at 464, citing Scott, 98 S.Ct. at 1724-25.

               Each of the monitors assigned to the surveillance in this case was provided

instructions on the rules of minimization by an Assistant United States Attorney. A

minimization memorandum was prepared and reviewed by monitoring agents. Monitors were

instructed to terminate surveillance immediately upon determination that the communication was

privileged or appeared unrelated to the investigation. This determination was to be made within

the first two minutes of the call. Monitors were to refrain from listening in on minimized calls


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but were permitted to conduct periodic spot checks to re-evaluate the nature and course of

extended conversations. Monitors were required to maintain contemporaneous logs indicating

the time and duration of interceptions. Their determinations on whether to minimize were to be

based upon written guidelines which described circumstances requiring minimization or various

levels of continued monitoring based upon identification of conversation participants, the subject

matter of the communications, and the use of code words and slang terminology.

               Probable Cause. Suppression of wiretap evidence on grounds that the order

authorizing electronic surveillance was not supported by probable cause is not required. The

affidavit of DEA Special Agent Olstad states sufficient evidence to establish probable cause,

including evidence obtained from an identified cooperating individual in 2004 and 2005,

information provided by a DEA confidential source (CS) in 2009 and 2010, consensually

monitored telephone conversations between the CS and a target individual, telephone toll record

and pen register analysis, undercover drug transactions, physical surveillance, and

latitude/longitude tracking data. While the affidavit is replete with evidence qualified by an

express indication that the particular statement was the affiant’s belief based upon inferences and

interpretation of coded language, the affiant’s belief’s are entitled to evidentiary weight under

circumstances in which they are wholly consistent with information obtained through the CS, the

undercover agent, tracking information and phone call patterns, and are further based upon the

affiant’s experience, training and first-hand familiarity with the case.

               Good Faith. The warrants authorizing interception of telephone communications

issued on July 26, 2010 (Hrg. Ex. 3) and August 31, 2010 (Hrg. Ex. 4) were executed by officers

having a objective good faith reliance on the validity of each of the warrants, and the wiretap


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surveillance with respect to the target telephone was lawful. The good faith exception under

United States v. Leon, 468 U.S. 897, 923, 104 S.Ct. 3405 (1984) applies to wiretap authorization

orders as well as to traditional search and seizure warrants. United States v. Moore, 41 F.3d 370,

376 (8th Cir. 1994). There is no evidence that the issuing judge was intentionally or recklessly

misled by false information in any of the separate supporting affidavits of Terrence Olstad; there

is no suggestion that the judicial role was completely abandoned by the issuing judge; the indicia

of probable cause in each of the affidavits is not insignificant; and the warrants are not facially

deficient. United States v. Hessman, 369 F.3d 1016, 1020 (8th Cir. 2004)(citing United States

v. Leon, 468 U.S. 897, 923, 104 S.Ct. 3405 (1984). The wiretap warrants were lawfully issued

and executed and therefore suppression of evidence seized pursuant to the warrants is not

required. Alternatively, both of the wiretap warrants were executed in good faith reliance on

their lawful issuance and execution and suppression is not required on good faith grounds as

well.

                 Based upon the foregoing Findings and Conclusions, the Magistrate Judge makes

the following:

                                     RECOMMENDATION

                 It is hereby recommended that:

                 1. Defendant (4) Patricio Cardoso-Sanchez ’s Motion to Suppress Wiretap

Evidence and Evidence Derived therefrom be denied [Docket No. 64];

                 2. Defendant (4) Patricio Cardoso-Sanchez ‘s Motion to Suppress Evidence

Obtained as a Result of Search and Seizure be denied [Docket No. 69];

                 3. Defendant (4) Patricio Cardoso-Sanchez’s Motion for Severance be denied


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[Docket No. 71];

              4. Defendant (1) Martin Basurto-Esquivel’s Motion for Suppression of Evidence

Derived from Wiretaps be denied [Docket No. 75];

              5. Defendant (1) Martin Basurto-Esquivel’s Motion for Severance of Defendants

be denied [Docket No. 83];

              6. Defendant (1) Martin Basurto-Esquivel’s Motion for Severance of Count 12

be denied [Docket No. 84];

              7. Defendant (1) Martin Basurto-Esquivel’s Motion to Suppress Evidence

Derived from Search and Seizure be denied [Docket No. 92];

              8. Defendant (2) Martin Basurto, Jr.’s Motion to Suppress Evidence be denied

[Docket No. 101];

              9. Defendant (2) Martin Basurto, Jr.’s Motion to Suppress Evidence Obtained as

a Result of Search and Seizure be denied [Docket No. 102];

              10. Defendant (2) Martin Basurto, Jr.’s Motion to Suppress Statements,

Admissions, and Answers be denied [Docket No. 103];

              11. Defendant (2) Martin Basurto, Jr.’s Motion for Severance of Counts and

Defendants be denied [Docket No. 112]; and

              12. Defendant (2) Martin Basurto, Jr.’s Motion for Suppression of Evidence

Derived from Wiretaps be denied [Docket No. 113].


Dated:     January 18, 2011
                                                   s/Arthur J. Boylan
                                                   Arthur J. Boylan
                                                   United States Chief Magistrate Judge


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               Pursuant to Local Rule 72.2(b), any party may object to this Report and
Recommendation by filing with the Clerk of Court, and by serving upon all parties, written
objections which specifically identify the portions of the Report to which objections are made
and the bases for each objection. This Report and Recommendation does not constitute an order
or judgment from the District Court and it is therefore not directly appealable to the Circuit
Court of Appeals. Written objections must be filed with the Court before February 1, 2011.

                Unless the parties stipulate that the District Court is not required by 28 U.S.C. §
636 to review a transcript of the hearing in order to resolve all objections made to this Report
and Recommendation, the party making the objections shall timely order and file a complete
transcript of the hearing within ten days of receipt of the Report.




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